Case 3:24-cv-00122-BAJ-RLB Document18 03/04/24 Page 1 of 2

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

FLORIDA GAS TRANSMISSION CIVIL ACTION NO:: 3:24-cv-00122-
COMPANY, LLC BAJ-RLB
V. JUDGE: BRIAN A. JACKSON

§.22 ACRES, MORE OR LESS, MAGISTRATE JUDGE: RICHARD L.

SITUATED IN IBERVILLE PARISH,
LOUISIANA, MURRELL FAMILY
L.L.C, AND FOREST HOME
PLANTATION, L.L.C

BOURGEOIS, JR.

AFFIDAVIT OF SERVICE

STATE OF LOUISIANA
PARISH OF ORLEANS

BEFORE ME, the undersigned Notary Public, personally came and appeared:

ROY P. CHAUVIN, JR.,

who, after being duly sworn did depose and attest as follows:

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I am a person of the full age of majority and a resident of the State of Louisiana;

I am not a party to this action;

Iam a paralegal at Liskow & Lewis, APLC, counsel for Plaintiff Florida Gas Transmission
Company, LLC, and have personal knowledge of the facts attested to in this affidavit;

On February 29, 2004, I received the Notice of Condemnation (R. Doc.12) to be hand

delivered and served on Murrell Family, LLC and Forest Home Plantation, L.L.C.
Case 3:24-cv-00122-BAJ-RLB Document18 03/04/24 Page 2 of 2

5. On March 1, 2024, service of the Notice of Condemnation (R. Doc. 12) was made on Mr.
George Murrell, as member/manager of Murrell Family, L.L.C., and as registered agent for
service of process for Forest Home Plantation, L.L.C., at 9018 Jefferson Highway, Suite
A, Baton Rouge, Louisiana 70809.

FURTHER AFFIANT SAYETH NOT.

a e

ROY P. CHAUVIN, JR. ~

CBE OT

Sworn to and Subscribed
Before me, this day of
March, 2024.

OFFICIAL SEAL
JOHN A. ROUCHELL
LA. BAR NO. 11485
NOTARY PUBLIC, ATTORNEY
ENTIRE STATE OF LOUISIANA
COMMISSIONED FOR LIFE.

